Case 1:11-cr-20279-JEM Document 594 Entered on FLSD Docket 02/08/2012 Page 1 of 8



                        UNITED STATES DISTRICT CO URT
                        SO UTHERN DISTRICT O F FLORIDA
                        CASE NO .11-20279-CR-M ARTINEZ

UNITED STATES O F AM ERICA,

            Plaintil,

V.

JULIJA VINOG RADOVA,

            Defendant.
                                I

                         REPORT AND RECO M M ENDATIO N

      O n oraboutNovem ber22,2011,coud-appointed defense counselScottW .Sakin

(''CounseI'')submitted a voucherapplication numbered FLS 11 2152 with appended time
sheetsrequesting $36,864.25asfinalpaymentforattorney'sfeesand costspursuanttothe
CriminalJusticeAct(the ''CJA'').Counselalso submitted a Ietterdated November22,2011
in suppod ofhis voucherapplication.

      CounselrepresentedDefendantluli
                                    jaVinogradova ('dDefendant'')forsixmonthsfrom
his appointm entonApril6,2011untilO ctoberzo,2011and seekscom pensationforthistime

in the voucherapplication.Counselseeks $36,864.25 in hisapplication,an amountwhich
exceedsthe $9,700.00 statutorym aximum allowedforrepresentation in non-capitalfelony
cases underthe CJA. As a result,United States DistrictCoud Judge Jose E.M adinez

entered an Order of Reference IDE # 5741 referring the voucher application to the
undersignedfora Repodand Recom m endationastow hetherthefeesrequested bycounsel

are appropriate.See 28 U.S.C.j 636(a),
                                     'see also United States DistrictCourtforthe
Southern DistrictofFlorida M agistrate Judge Rules.
Case 1:11-cr-20279-JEM Document 594 Entered on FLSD Docket 02/08/2012 Page 2 of 8



               Crim inalJustice Actand Guidelines forAdm inistering
                              the Crim inalJustice Act
      The United StatesJudicialConferencedeveloped the GuidelinesforAdm inisteringthe

CJA and Related Statutes (the 'Guidelines'') to assistcouds in the application ofthe
provisions ofthe CJA. See In re Burgez 498 U.S.233,234,111S.Ct.628 (1991). Inthe
Guidelines,judgesare''urgedtocompensatecounselata rateandinanamountsufficient
to coverappointed counsel'sgeneralofficeoverhead and to ensure adequate com pensation

forrepresentation provided.''See Section 5630.20 ofthe Guidelines.
      The CJA at 18 U.S.C. j3006A(d)(1) provides that at the conclusion of CJA
representation,an appointed attorneyshallbe com pensated fortim e expended in coud and

for tim e ''reasonably expended out of court' and shall be reim bursed ''for expenses

reasonably incurred.'' The districtcoud,as the body em powered to ''fix''CJA appointed

counselcom pensation,has the statutory authority and discretion to determ ine w hatis a

reasonable expense ora reasonable use ofbillable time.18 U.S.C.j3006A(d)(5);U.S.e.
Gr/ggs,240 F.3d 974 (11thcir.2001).In orderforthe recommendedfee amountto exceed
the statutory m axim um ,however,the districtcoud m ustfirstcertify thatthe case involves

''complex'or''extended''representation. 18 U.S.C.j3006A(d)(3).Second,the districtcourt
m ustconclude thatthe am ountis necessary to provide Counselwith faircom pensation.

      A case m ay be considered d'
                                 com plex'
                                         'if the Iegalorfactualissues in a case are

unusual,thusrequiringthe expendi
                               ture ofmore tim e,skilland effod bythe Iawyerthanwould

normally be required inan average case.See Section 5230.23.40(b)ofthe Guidelines.A
case m ay be considered 'lextended''ifm ore tim e is reasonably required fortotalprocessing

than the average case,including pre-trialand post-trialhearings./d.
Case 1:11-cr-20279-JEM Document 594 Entered on FLSD Docket 02/08/2012 Page 3 of 8



                                       DISCUSSIO N

                                 This Case W as Com plex

       Underthe Guidelines,in orderto approve a requestforcom pensationin excessofthe

statutory maxim um ,Im ustfirstfind thatthe representation was eithercom plexorextended.

This case was com plex fortwo reasons.

       First,the very nature and num berofcharges involved in this case required Counsel

to expend m ore tim e,skilland effortthan norm ally required in the average case. This case

originally commenced when the grand jury returned a sixty countIndictmentIDE # 1021
charging fifteen codefendants with num erous crim es including conspiracy to com m itwire

fraud,wire fraud,conspiracy to com m itfraud in connection with im m igration documents,

fraud in connection w ith im m igration docum ents and bribery ofa public official.

       Defendantwasspecificallynam ed in Counts1,XXIII,XXIV ,XXV,XXVI,XXVII,XLI,LIV

and LV. In Count1,Defendantwas charged w ith conspiracy to com m itwirefraud in violation

of18 U.S.C.j 1349. InCountsXXIII,XXIV,XXV,XXVIandXXVII,Defendantwascharged
withwire fraud in violation of18 U.S.C.j 1343.ln Count,XLI,Defendantwascharged with
conspiracy to com m itfraud in connection w ith im m igration docum ents in violation of 18

U.S.C.j 371.In Counts LIV and LV,Defendantwas charged withfraud inconnectionwith
immigration documents in violation of18 U.S.C.j 1546.
       Defendantfaced a separate m axim um term oftwenty years im prisonm entforeach

ofthe following Counts:XXIII,XXIV ,XXV ,XXVIand XXVII.Defendantfaced a term offive

years im prisonm ent on the conspiracy to com m it fraud in connection with im m igration

docum ents charge and ten years im prisonm ent on each of the two im m igration fraud


                                             -   3-
Case 1:11-cr-20279-JEM Document 594 Entered on FLSD Docket 02/08/2012 Page 4 of 8



charges. CounselIaterentered a plea ofguilty to one countofconspiracy to com m itwire

fraud.Isee DE # 3731.Shewassentencedtotime served and orderedto pay$4,299.14 in
restitution.Isee DE # 3731.
      Second,discovery was volum inous in this case.l
                                                    'The Governmentinitially provided

discovery in the form ofa hard drive which included 12,000 documents and over120 audio

and video recordings. Some of the recordings contained up to 8 hours of individual

recordings.Someofthe recordings(were)conversationsin Russian.'(November22,2011
Ietterat1).
      'There Ewere)over12,000 docum ents in this case,some ofwhich were forgeries,
som e Iegitim ate and m any difficultto determ ine the applicabili
                                                                 tyto m y defendant.The video

recordingswentonforhoursand probablyequaled inexcessof500 hours.''(November22,
2011letterat3).''The amountofdiscovery-thatis,302 repodsfrom the FBI,audio/visual
surveillance,bankdocum ents,creditcarddocuments,im m igrationdocum ents-wasfarm ore

than the average case.'(Novem ber22,2011 Ietterat4). The sheervolume ofevidence
which Counselhad to review in orderto effectively representDefendantrendered thiscase

m ore com plex than the average case.

      Itis clearfrom the record thatthe Iegaland factualissues in this case were unusual.

Consequently,lconclude thatthis m atterrequired the expenditure ofm ore tim e,skilland

effortby Counselthanwould norm ally be required inthe average case.As Ihave concluded

thatthe representation provided byCounselw as com plex,Im ustnow review the voucherto

determ ine the appropriate am ountforw hich Counselshould be com pensated in excess of

the $9,700.00statutorymaxim um .

                                            -   4-
Case 1:11-cr-20279-JEM Document 594 Entered on FLSD Docket 02/08/2012 Page 5 of 8



                     VoucherAm ount-Adm inistrator's Review

      The Coud's CJA adm inistratorfirst reviewed the voucherforcom pliance with the

G uidelinesand m athem aticalaccuracy priorto my review.Counselrequested com pensation

for6.8 in-coud hourstotaling $850.00.
      The CJA adm inistratoralso reviewed the 286.1out-of-courthourssoughtby Counsel.

Counselsoughtcom pensation for70.4 hours for''lnterviews and conferences''and 108.7

hours for''Obtaining and reviewing records.'' Counselalso soughtcom pensation for9.6

hours for'lLegalresearch and briefwriting'
                                         ',13.7 hours ofd
                                                        'Traveltim e''and 83.7 hours for

lnvestigative and Otherwork.''

      Counselsought$154.25 in ''TravelExpenses.'' Lastly,Counselsought$97.50 in
''OtherExpenses.''

                                   In-courtHoursl

      Counselsoughtcompensation for6.8 in-coud hours totaling $850.00. The CJA
adm inistratorm ade no changes to eitherthe totalnum ber of in-coud hours orthe total

amountofcompensationsoughtforthistime. lapprove $850.00 asreasonable.
                                 Out-of-courtHours

      Inthe voucher,Counselsoughtcom pensationfor286.1out-of-coud hours.The CJA

adm inistratorreviewed the voucherand m ade no changes to the num berofout-of-court

hours orthe totalamountclaimed by Counsel.




         l
         The undersigned defers to the CourtClerkto verify aIIin-courttim e and expense
   allowances.
                                          -   5-
Case 1:11-cr-20279-JEM Document 594 Entered on FLSD Docket 02/08/2012 Page 6 of 8



      AlthoughthevastmajorityofCounsel'stimeentriesareappropriate,Counselincluded
some entriesthatwere notsufficientlyspecificforthe undersigned to determ ine the purpose

ofthe entries.Irecom mend thatthese entries be reduced:

             4/12/11      Meeting with prosecutor                0.5 hours
                                                                 (reduce to 0.1 hour)
             4/13/11      Correspondence with governm ent        0.2 hours
                                                                  Ireduce to 0.1hour)
             5/4/11       Correspondence with governm ent         0.2 hours
                                                                  (reduce to 0.1hour)
             6/8/11       Conference w ith AUSA Dick G regory     0.5 hours
                                                                  (reduce to 0.1 hour)
             7/14/11      Conference with prosecutor              0.5 hours
                                                                  Ireduce to 0.1 hour)
             8/15/11      Correspondence with prosecutor          0.2 hours
                                                                  (reduce to 0.1hour)
             8/15/11      Correspondence with prosecutor          0.2 hours
                                                                  Ireduceto 0.1hour)
             8/17/11      Phone calls to prosecutor               0.3 hours
                                                                  Ireduce to0.1 hour)
             9/7/11       Phone callwith AUSA Dick Gregory        0.2 hours
                                                                  Ireduce to 0.1 hour)
             9/9/11       Phone calls with prosecutor             0.2 hours
                                                                  Ireduce to 0.1hour)
             9/14/11      Conference with prosecutor              0.2 hour
                                                                  Ireduc so 0.1hour)
                                                                        et


       These entries are notsufficiently detailed to justify compensation in the amount
requested by Counsel. The ''Supplem entalInstructions forCom pleting CJA20 Vouchers''


                                           -   6-
Case 1:11-cr-20279-JEM Document 594 Entered on FLSD Docket 02/08/2012 Page 7 of 8



form (the d
          'SupplementalInstructions') is instructive in this regard. The form provides
tharltlelephone conferencesinexcessofonetenth(0.1)hourrequire notationofreasonfor
duration,and parties to conversation identified.''Although Counselidentified the parties to

each conference Iisted above,Counselfailed to explain the reason forthe duration ofthe

conferences in excess of0.10 hours.

       Accordingly,Irecom m end thatthese entries should be reduced by a totalof2.1

hours,com pensating Counselwith 0.1 hourforeach ofthe above described entries.This

results ina totalreduction of$262.50.
      Counselalso included one otherproblem aticentry.Counselincluded anentryfortim e

spent'Receivling)and Reviewling)variouspleadingsfrom co-defendants,30pages''onMay
26, 2011. Counselfailed to provide any additional inform ation concerning this entry.

Counselfailed to identify the docum ents reviewed,eitherby description orby docketentry

num ber.Irecom mend thatthis entry be elim inated as itis notpossible forthe Courtto

determ ine w hetherthis was a proper use of billable tim e. This results in an additional

reduction of$62.50.
       Ifind,however,thatthe rem aining out-of-coud hours listed in the voucherapplication

are appropriate. Factoring in m y deductions,Irecom m end thatCounselshould be paid

$35,437.50forhisout-of-coud hours.
                                        Expenses

      Counselsought$154.25 in''TravelExpenses.''Counselalso sought$97.50 ind'Other
Expenses.'The CJA adm inistratormade no correctionsto eitheram ount. Ihereby approve

the $154.25 in S
               'TravelExpenses''andthe $97.50 in ''OtherExpenses.''
'4
     Case 1:11-cr-20279-JEM Document 594 Entered on FLSD Docket 02/08/2012 Page 8 of 8



                                         CONCLUSION
           Icom m end Counselforhis professionalism and willingnesstotakethis appointm ent'
                                                                                          ,

     the undersigned isappreciative ofhisefforts in this case.As Iexplained above,because the

     representation in this case was com plex,Irecom m end thatCounselbe reim bursed foran

     amountin excess ofthe statutory maximum of$9,700.00.
           Based upon m y review ofthe tim e sheets,the M otion,the docketand filings in this

     case,1RECOMM END thatCounselbe paid $36,539.25 asfairand finalcompensationfor

     his work in this case.
            lnaccordance with28 U.S.C.j636(b)(1),the partiesshallhavefoudeen(14)days
     from receiptofthisReportandRecommendationtoserveandfile anywrittenobjections with
     the Honorable Jose E.Martinez,United States DistrictJudge.


                                             Signed this Z ' day ofFebruary,2012.


                                                t                         '

                                             P TER R.PALERMO
                                             SR.UNITED STATES MAGISTRATE JUDG E

      Copies furnished to:

            ScottW .Sakin,Esq.
            Lucy Lara,CJA adm inistrator




                                                -   8-
